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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

ANN CARLETTA,                                 Civil Action No. 2:20-cv-14304 (KSH) (CLW)

                         Plaintiff,                       SCHEDULING ORDER
v.

BERTELSMANN, INC.; and RTL
ADCONNECT, INC.,

                         Defendants.

      This matter having been opened to the Court in connection with a case management

conference on December 14, 2020, and the parties having appeared through counsel, and for good

cause shown,

      It is hereby ordered:

               (1)    Fed. R. Civ. P. 26 Disclosures will be exchanged by Monday, January 11,
                      2021, if not prior thereto;

               (2)    To the extent necessary, an e-Discovery conference pursuant to L. Civ. R.
                      26.1(d) will be conducted within two (2) weeks of the initial scheduling
                      conference with the Court, if necessary;

               (3)    Service of initial written discovery by 1/15/2021;

               (4)    Maximum of 25 Interrogatories by each party to each other party;

               (5)    Maximum of 10 depositions to be taken by each party;

               (6)    Motions to amend or to add parties to be filed by February 15, 2021;

               (7)    Factual discovery to be completed by September 30, 2021, absent good
                      cause shown;

               (8)    Affirmative expert reports due on a date TBD;

               (9)    Rebuttal expert reports due on a date TBD;

               (10)   Expert depositions to be completed by a date TBD;

               (11)   Dispositive motions to be served on a date TBD.
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           (12)   All motions require prior approval of Magistrate Judge Waldor. Parties are
                  encouraged to raise substantive issues with the Court by letter, email, e-
                  filing, or logistical issues by telephone to Magistrate Judge Waldor’s
                  chambers.

           (13)   A status conference will be held on April 14, 2021 at 1 p.m.

           (14)   The caption of this matter is hereby amended to correct a misspelling of
                  Plaintiff’s name, and shall henceforth be: Carletta v. Bertelsmann, Inc., et
                  al.

           (15)   Plaintiff shall be permitted to file a First Amended Complaint that solely
                  corrects any misspellings of Plaintiff’s name within 10 days of the date
                  hereof. Defendants’ Answer to the Complaint filed on November 4, 2020
                  (ECF No. 4) shall be deemed to be responsive to that First Amended
                  Complaint and no further responsive pleading shall be required.



SO ORDERED:



                                                /s/ Cathy L. Waldor
                                                Cathy L. Waldor, U.S.M.J.




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